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 6
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 7 United States of America

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-00296 WBS

12                                 Plaintiff,           STIPULATION AND [PROPOSED] ORDER TO
                                                        CONTINUE JUDGMENT AND SENTENCING
13                           v.                         HEARING

14   MOCTEZUMA TOVAR, ET AL.,

15                                Defendants.

16

17           The United States of America, through Assistant U.S. Attorney Brian A. Fogerty, and defendants

18 Jun Michael Dirain, Sandra Hermosillo, Manuel Herrera, and Moctezuma Tovar, individually, and

19 through their respective counsel of record, hereby stipulate and request that the Court vacate the hearing

20 for sentencing and entry of judgment, which is currently set for November 13, 2017. The parties request

21 that the Court reset judgement and sentencing for the aforementioned defendants for February 20, 2018,

22 at 9:00 a.m.

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        STIPULATION CONTINUING SENTENCING               1
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            Case 2:11-cr-00296-WBS Document 669 Filed 11/08/17 Page 2 of 3

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 2 Dated: November 8, 2017                       PHILLIP A. TALBERT
                                                 United States Attorney
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 4                                        By: /s/ BRIAN A. FOGERTY
                                              BRIAN A. FOGERTY
 5                                            Assistant United States Attorney

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 7 Dated: November 8, 2017                       /s/ TIMOTHY ZINDEL
                                                 TIMOTHY ZINDEL
 8                                               Assistant Federal Defender
                                                 Counsel for Defendant Jun Michael Dirain
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11 Dated: November 8, 2017                       /s/ ERIN RADEKIN
                                                 ERIN RADEKIN
12                                               Counsel for Defendant Sandra Hermosillo
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15 Dated: November 8, 2017                       /s/ JOHN MANNING
                                                 JOHN MANNING
16                                               Counsel for Defendant Manuel Herrera

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18
     Dated: November 8, 2017                     /s/ THOMAS A. JOHNSON
19                                               THOMAS A. JOHNSON
                                                 Counsel for Defendant Moctezuma Tovar
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      STIPULATION CONTINUING SENTENCING      2
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             Case 2:11-cr-00296-WBS Document 669 Filed 11/08/17 Page 3 of 3

 1                                                ORDER

 2         The Court hereby adopts the stipulation of the parties. The judgment and sentencing for

 3 defendants Jun Michael Dirain, Sandra Hermosillo, Manuel Herrera, and Moctezuma Tovar previously

 4 set for November 13, 2017, is vacated. Judgment and sentencing for the aforementioned defendants is

 5 reset for February 20, 2018, at 9:00 a.m.

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 7 Dated: November 8, 2017

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      STIPULATION CONTINUING SENTENCING               3
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